















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-53,148-03





EX PARTE MARLIN ENOS NELSON





ON APPLICATION FOR POST-CONVICTION WRIT OF HABEAS CORPUS


FILED IN CAUSE NO. 483164-B IN THE 178th DISTRICT COURT


HARRIS COUNTY





	Per Curiam.  

O R D E R



	In August 1988, a jury found applicant guilty of the offense of capital murder.  The
jury answered the statutory punishment questions in such a way that the trial court set
applicant's punishment at death.  This Court affirmed applicant's conviction and sentence
on direct appeal. Nelson v. State, 848 S.W.2d 126 (Tex.Crim.App. 1992).  On June 16,
2010, this Court remanded applicant's case to the trial court.  It has been more than two
years since the application was remanded.  Accordingly, we order the trial court to resolve
any remaining issues within 90 days from the date of this order.  The clerk shall then
transmit the complete writ record to this Court within 120 days from the date of this
order.  Any extensions of time shall be obtained from this Court.

	IT IS SO ORDERED THIS THE 1ST DAY OF AUGUST, 2012

Do Not Publish


